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               AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
                                  AND ARREST WARRANT


       I, Kathryn Camiliere, being first duly sworn, herby depose and state as follows:

                                   PURPOSE OF THE AFFIDAVIT

       1.      This Affidavit is submitted in support of Criminal Complaint charging Ryan

ASHLOCK, with violations of 18 U.S.C. §§ 371, 231(a)(3), 1512(c)(2), 1752(a)(1) and (2) for his

unlawful conduct at the U.S. Capitol on January 6, 2021. This Affidavit sets forth evidence that

establishes probable cause that ASHLOCK conspired together with the other subjects listed herein,

and with others known and unknown, (i) to corruptly obstruct, influence, or impede an official

proceeding before Congress, that is, the certification of the Electoral College, and (ii) to obstruct,

impede, or interfere with a law enforcement officer during the commission of a civil disorder.

       2.      Similarly, ASHLOCK corruptly obstructed, influenced, or impeded an official

proceeding before Congress, and aided and abetted the same; obstructed, impeded, or interfered

with a law enforcement officer during the commission of a civil disorder, and aided and abetted

the same; and knowingly and unlawfully entered or remained on restricted grounds and engaged

in disorderly or disruptive conduct with an intent to impede or disrupt the orderly conduct of

government business or official functions.

       3.      As described in detail herein, ASHLOCK did advance together with other subjects

of the conspiracy as they unlawfully entered the grounds of the U.S. Capitol. ASHLOCK did then

proceed to act in concert to prevent law enforcement officers from controlling the crowd by

attempting to remove metal barriers outside the Capitol Building. ASHLOCK moved closely with

the other subjects in proximity, but also appeared to gesture and communicate to one another
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before entering the Capitol in an apparent effort to coordinate their efforts, before ASHLOCK

ultimately separated from the other subjects. In addition, like other subjects of the conspiracy, as

illustrated in images included throughout this Affidavit, ASHLOCK had fluorescent orange tape

affixed to his clothing. As further evidence of the ASHLOCK’s intent, as well as coordination and

planning with the other subjects of the conspiracy, ASHLOCK wore tactical style gear, including

a vest, goggles, knee pads, and gloves, and one of the subjects of the conspiracy, William

Chrestman, arrived at the Capitol with a respirator and wooden club or axe handle disguised as a

flag.

        4.     Since the arrest of the other subjects in the conspiracy, on February 11, 2021,

ASHLOCK spoke to law enforcement officers about the events at the U.S. Capitol on January 6,

2021. ASHLOCK admitted to being present at the Capitol with the other subjects of the conspiracy,

driving to Washington, D.C. with some of the other subjects of the conspiracy, lodging with some

of the other subjects of the conspiracy, and coordinating their efforts to march on the U.S. Capitol.

However, ASHLOCK ultimately denied that his actions were criminal.

                                    BACKGROUND OF AFFIANT

        5.     Your affiant has been a Special Agent with the Federal Bureau of Investigation

(“FBI”) since 2016. As a Special Agent, I am authorized by law or by a Government agency to

engage in or supervise the prevention, detention, investigation, or prosecution of a violation of

Federal criminal laws. In addition to my regular duties, I am a tasked with investigating criminal

activity in and around the U.S. Capitol grounds on January 6, 2021.

        6.     Unless otherwise stated, the information in this Affidavit is either personally known

to me, has been provided to me by other individuals, or is based on a review of various documents,

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records, and reports. Because this Affidavit is submitted for the limited purpose of establishing

probable cause to support an application for an arrest warrant, it does not contain every fact known

by me or the United States. The dates listed in this Affidavit should be read as “on or about” dates.

                                       PROBABLE CAUSE

       7.      The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include

permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

       8.      On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public. A joint session of the United States Congress convened at the United States Capitol.

During the joint session, elected members of the United States House of Representatives and the

United States Senate were meeting in separate chambers of the United States Capitol to certify the

vote count of the Electoral College of the 2020 Presidential Election, which had taken place on

November 3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by

approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a

particular objection. Vice President Mike Pence was present and presiding, first in the joint session,

and then in the Senate chamber.

       9.      Shortly before 1:00 p.m., a large crowd gathered near the pedestrian entrance to the

Capitol grounds on First Street. The entrance was secured by a small number of U.S. Capitol




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Police, who stood behind a waist-height metal barrier.




       10.     Shortly after that above image was captured on video, two men advanced toward

the waist-high metal gate. The crowd followed, and within minutes, the crowd overwhelmed the

U.S. Capitol Police officers seen at the top of the steps in the image above. The crowd then

advanced toward the U.S. Capitol.

       11.     After overwhelming the pedestrian gate near the Peace Monument and other

entrances, the crowd advanced on the U.S. Capitol where another line of U.S Capitol Police and

barricades attempted to stop the crowd from advancing to the walls of the building. Additional

people continued to arrive until what I estimate to be thousands of people had gathered in front of

the Capitol on its west side.

       12.     At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd

advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter

or remain in the building and, prior to entering the building, no members of the crowd submitted


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to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized

security officials.

        13.     At such time, the certification proceedings were still underway, and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,

shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by

breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd

encouraged and assisted those acts.

        14.     Shortly thereafter, members of the United States House of Representatives and

United States Senate, including the President of the Senate, Vice President Pence, were instructed

to—and did—evacuate the chambers. Accordingly, all proceedings of the United States Congress,

including the joint session, were effectively suspended until shortly after 8:00 p.m. the same day.

In light of the dangerous circumstances caused by the unlawful entry to the U.S. Capitol, including

the danger posed by individuals who had entered the U.S. Capitol without any security screening

or weapons check, Congressional proceedings could not resume until after every unauthorized

occupant had left the U.S. Capitol, and the building had been confirmed secured. The proceedings

resumed at approximately 8:00 p.m. after the building had been secured. Vice President Pence

remained in the United States Capitol from the time he was evacuated from the Senate Chamber

until the session resumed.

        15.     During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

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without authority to be there.

                                        Ryan ASHLOCK

       16.     Following this incident, law enforcement agencies received numerous tips from the

public. From these tips, FBI developed the profile of a suspect who unlawfully entered the Capitol

to obstruct the functions of Congress on January 6, 2021, by the name of William Chrestman

(“Chrestman”). As discussed fully in Paragraphs 21 - 46 below, your affiant observed Chrestman

move in coordination with several others, including ASHLOCK, during the incident. Specifically,

ASHLOCK was moving with Chrestman at times while on the Capitol grounds prior to gaining

entry into the Capitol.

       17.     On February 10, 2021, United States Magistrate Judge Zia M. Faruqui of the United

States District Court of the District of Columbia signed a criminal complaint in case number 21-

mj-218 (ZMF) charging Chrestman, Christopher Kuehne (“Kuehne”), Louis Enrique Colon

(“Colon”), Felicia Konold, and Cory Konold, with violations of 18 U.S.C. § 371, 18 U.S.C. § 231,

18 U.S.C. § 1512(c)(2), 18 U.S.C. § 1752(a), 40 U.S.C. §§ 5104(e)(2)(D) and (G), and 18 U.S.C.

§ 2. William Chrestman has additionally been charged with violations of 18 U.S.C. § 115(a)(1)(B)

and 18 U.S.C. §§ 1752(a)(1) – (2) with a 1752(b)(1)(A) enhancement. Arrest warrants were issued

for each defendant.

       18.     On February 11, 2021, FBI agents in Kansas City executed the arrest warrants for

Chrestman, Kuehne, and Colon. While processing the defendants, ASHLOCK was identified

verbally and from photographs by one of the defendants as an additional subject who was with

Chrestman, Kuehne, Colon, and the Konolds on January 6, 2021. The defendant told FBI agents

that a group of individuals including ASHLOCK, Kuehne, and Colon agreed to drive together

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from the Kansas City metro area to Washington, D.C. for the events of January 6, 2021. They all

stayed together in a short-term rental property before and after the events of January 6, 2021.

        19.    On February 11, 2021, FBI agents interviewed ASHLOCK at his workplace in

Westwood, Kansas; ASHLOCK voluntarily agreed to speak with the FBI agents. During that

conversation, ASHLOCK self-identified himself in photographs taken during the events of January

6, 2021. He mentioned to FBI agents that he was at some point separated from the other subjects

of the conspiracy and, that after being sprayed with pepper spray by U.S. Capitol Police officers

attempting to defend the Capitol, he decided to leave the grounds.

        20.    On January 6, 2021, ASHLOCK was wearing a black sweatshirt, blue jeans, a green

tactical vest with orange tape affixed to the front, a gray respirator, yellow goggles, and gray knee

pads.




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                                  ASHLOCK’s Co-Conspirators


       21.     Your affiant reviewed various forms of open source videos and photographs of

individuals who were among several confirmed members of the Proud Boys1 immediately

preceding entry into the Capitol. Your affiant also reviewed U.S. Capitol Police footage and

noticed that ASHLOCK appeared to have moved together with other individuals on the Capitol

grounds prior to those other individuals gaining entry but before the group went inside. Your

affiant noticed that these individuals not only moved closely to each other in proximity, but also

appeared to gesture to one another while moving together on the Capitol grounds, as evidenced



1
 Proud Boys is a nationalist organization with multiple U.S. chapters and potential activity in other
Western countries. The group describes itself as a “pro-Western fraternal organization for men
who refuse to apologize for creating the modern world; aka Western Chauvinists.” Proud Boys
members routinely attend rallies, protests, and other First Amendment-protected events, where
they sometimes engage in violence against individuals whom they perceive as threats to their
values. The group has an initiation process for new members, who often wear yellow and black
polo shirts or other apparel adorned with the Proud Boys logo to events.


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below in the photograph featuring a subject identified as Chrestman pointing and appearing to be

communicating with others.2

       22.     The first subject who appeared to travel with ASHLOCK is pictured below, dressed

in a black baseball hat, black framed glasses, a black sweatshirt, black boots, tan gloves, green and

tan camouflage pants, and a green tactical vest. The photographs below were taken outside the

Capitol on or about January 6, 2021.




       23.     As stated above in Paragraph 22, your affiant has reason to believe this individual

is Chrestman based on the comparisons discussed herein. First, your affiant has compared images

from Chrestman’s database records, including DMV records, to several images and videos from

the events at the Capitol and has determined that the person pictured above is Chrestman. Based



2
  Your affiant believes that there may be more persons involved in this particular conspiracy than
the persons described throughout this affidavit, and will continue to investigate other connections
amongst these persons.

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on these same records, your affiant has determined that Chrestman currently resides in the Kansas

City, KS/MO metro area, and your affiant reasonably believes Chrestman traveled in interstate

commerce to Washington, D.C. for the events on January 6, 2021. Further, your affiant was able

to identify Chrestman’s cell phone number through law enforcement databases. According to

records produced by Chrestman’s cell phone service provider in response to legal process,

Chrestman is listed as an account holder for that cell phone number. Finally, lawfully obtained

Google records show that a Google account associated with Chrestman’s phone number was

connected to Google services and was present in or around the U.S. Capitol on January 6, 2021.

Specifically, the Google records show that Chrestman moved from the Plaza in front of the Capitol

to inside various locations within the Capitol building itself.

       24.     The second subject is the person pictured below, who is wearing a black helmet

with orange tape affixed to the front and the back, an American flag pattern face mask, an orange

hooded sweatshirt, black sunglasses, black pants, black gloves, and a black backpack with red

bandana tied to the back of the backpack.




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       25.     Your affiant has reason to believe this person is Louis Enrique Colon based on the

comparisons discussed herein. First, your affiant conducted a law enforcement database check and

compared images of Colon, including his DMV records, and determined that the person pictured

above is Colon. According to databases available to law enforcement, Colon is also believed to

reside in the Kansas City, MO metro area, and your affiant reasonably believes Colon traveled to

Washington, D.C. for the events on January 6, 2021. Law enforcement databases consistently

attributed a cell phone number to Colon. Lawfully obtained cell site location data show that a cell

phone associated with Colon’s cell phone number was present in or around the U.S. Capitol on

January 6, 2021.

       26.     The third subject is pictured below, wearing a tan helmet with orange tape affixed

to the top and back, a black and tan face mask, a black jacket, tan pants, orange-tinted sunglasses,

and a black backpack with two rolls of orange tape clipped into the back of the backpack. The

photograph below was taken outside the Capitol on or about January 6, 2021.




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       27.     Your affiant has identified the person pictured above as Christopher Kuehne based

on the comparisons discussed herein. First, your affiant conducted a law enforcement database

check and compared images of Kuehne, including his DMV records, to several images and videos

from the events at the Capitol and has determined that the person pictured above is Kuehne. Based

on these same records, Kuehne also resides in the Kansas City, KS metro area and your affiant

reasonably believes Kuehne traveled in interstate commerce to Washington, D.C. for the events

on January 6, 2021. Law enforcement databases consistently attributed a particular phone number

to Kuehne. Lawfully obtained cell site data show that a cell phone associated with the Kuehne’s

phone number was present in or around the U.S. Capitol on January 6, 2021.

       28.     The fourth subject who appeared to travel with ASHLOCK is pictured below; this

subject is dressed in a tan baseball hat with orange tape affixed to the top and brown braided

ponytail, a green scarf, and black jacket, tan pants, tan and gray shoes, and a black backpack. The

photographs below were taken outside the Capitol on or about January 6, 2021.




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       29.     Your affiant has reason to believe the person pictured above is Felicia Konold based

on the comparisons discussed herein. First, your affiant has compared images in Konold’s database

records, including DMV records, to several images and videos from the events at the Capitol and

has determined that the person pictured above is Konold. According to law enforcement records,

Konold resides in the Tuscon, AZ metro area, and your affiant reasonably believes Konold traveled

in interstate commerce to Washington, D.C. for the events on January 6, 2021. Law enforcement

databases consistently attributed a cell phone number to Konold. Lawfully obtained cell site data

show that a cell phone associated with Konold’s cell phone number was present in or around the

U.S. Capitol on January 6, 2021.

       30.     The fifth subject can be seen in an image below (as captured on January 6, 2021)

wearing a black and grey baseball hat with orange tape affixed to the top, glasses, a red scarf, tan

hooded jacket, and grey pants. Your affiant has reason to believe the person pictured below is Cory

Konold based on the comparisons discussed herein.




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       31.     Among other things, your affiant has compared images in Cory Konold’s database

records, including DMV records, to several images and videos from the events at the Capitol. Cory

Konold is the brother of Felicia Konold. Lawfully-obtained cell site records indicated that the

Felicia Konold cell called a number associated with Cory Konold while in or around the Capitol

on January 6, 2021.

                      ASHLOCK and Others’ Affiliation with the Proud Boys

       32.     Your affiant reviewed open source media that depicted Chrestman interacting with

several members of the Proud Boys near the Capitol before it was breached. The image below

depicts Chrestman (left) communicating with a person that your affiant identified as Proud Boy

Ethan Nordean3 (right).



3
 On February 2, 2021, Nordean was charged by complaint with violations of 18 U.S.C. § 1361, 2
and 18 U.S.C. § 1512(c)(2), among other charges, in connection with his actions at the U.S. Capitol
on January 6, 2021.




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       33.     Further, your affiant has reviewed additional open source video which shows

several persons marching together toward the Capitol who the FBI has assessed are members of

the Proud Boys. In fact, some of these individuals observed in the same group marching with

ASHLOCK, Chrestman, Felicia Konold, Cory Konold, Kuehne, and Colon have been charged for

their conduct on January 6, 2021. Walking within feet of Chrestman, Konold, Kuehne, and Colon

are other identified Proud Boys, such as William Pepe.4

       34.     Additionally, a social media post from Felicia Konold on or about January 6, 2021,

celebrated that she had just been “recruited” by Proud Boys from Kansas City. In the post, Felicia



4
  William Pepe was charged by indictment on January 29, 2021, in a Conspiracy with another
identified Proud Boy, Dominic Pezzola in 21-cr-52, with violations of 18 U.S.C. §§ 231, 1512(c),
among other charges, in connection with his actions at and inside the U.S. Capitol on or about
January 6, 2021.




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Konold claimed that members of the Kansas City Proud Boys told her that even though she was

not from Kansas City, she was “with them now.” During the video post, she displaying a two sided

“challenge coin”5 that appears to have markings that designate it as belonging to the Kansas City

Proud Boys.




      Specific Actions Taken by ASHLOCK, Chrestman, Colon, Kuehne, and the Konolds

       35.    On January 6, 2021, a group that included multiple individuals who have been

identified as affiliated with the Proud Boys were observed marching at the front of a group of

individuals on Constitution Avenue, Northwest, in the area around First Street, Northwest. The

group was engaged in various chants and response calls, including “F*** Antifa!” and “Whose



5
 A challenge coin is a small coin or medallion, bearing an organization’s insignia or emblem and
carried by the organization’s members. They are often collected by service members and law
enforcement personnel.



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streets? Our streets!” ASHLOCK, Chrestman, Felicia Konold, Cory Konold, Kuehne, and Colon

were observed marching within this group as they advanced toward the Capitol.




       36.    The same group of Proud Boys were later captured on publicly-available video

moving toward the pedestrian entrance to the Capitol grounds on First Street, Northwest. The

group continued to be led by Proud Boy organizers Joseph Biggs and Ethan Nordean. As depicted

in the images below, marching among this group were ASHLOCK, Chrestman, Felicia Konold,

Cory Konold, Kuehne, and Colon.




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       37.     Shortly before 1:00 p.m., a large crowd, including a large group of Proud Boys,

gathered near the pedestrian entrance to the Capitol grounds on First Street. The entrance was

secured by a small number of U.S. Capitol Police, who stood behind a waist-high metal barrier.

Shortly thereafter, two men advanced toward the waist-high metal gate. The crowd followed.

Individuals that I recognize as Chrestman, Felicia Konold, and Cory Konold moved to the front of

the crowd during the initial confrontation with law enforcement. Your affiant notes that Chrestman

appeared to have a black helmet with a piece of orange tape hanging from his backpack (circled in

yellow below). This orange tape is similar in kind and character to the orange tape affixed to the

gear of ASHLOCK, Felicia Konold, Cory Konold, Kuehne, and Colon.




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        38.       Within minutes, the crowd overwhelmed the U.S. Capitol Police officers seen at

the top of the steps in the image above. The metal barricades were toppled, and the crowd advanced

toward the Capitol. Within minutes, ASHLOCK, Chrestman, Felicia Konold, and Cory Konold,

had moved past the barrier and placed themselves at or near the front of the crowd at the next

police barrier.




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       39.     As Capitol Police began to form another line closer to the Capitol, ASHLOCK,

Chrestman, Felicia Konold, and Cory Konold were among those at the front of the crowd.

Chrestman then stood directly in front of Capitol Police officers who were attempting to guard the

Capitol. Chrestman yelled at the Capitol Police officers, “You shoot and I’ll take your fucking ass

out!” At a different point, Capitol Police officers attempted to arrest one person from the crowd,

and Chrestman encouraged other members of the crowd to stop the Capitol Police from arresting

him. Among other things, Chrestman said to other members of the crowd, “Don’t let them take

him!” Immediately next to Chrestman was Felicia Konold, who at multiple points deliberately

grabbed Chrestman’s elbow and tactical vest. During this sequence, Felicia Konold yelled at

Capitol Police, “Let him go!” A screenshot of Chrestman, Felicia Konold, and Cory Konold during



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this sequence can be seen below. Of note, Chrestman’s wooden club or axe handle can be seen

wrapped in a blue flag.




       40.     The next police line was soon overwhelmed and outflanked by crowds of people as

they crowd advanced to the front plaza of the U.S. Capitol. Chrestman, Felicia Konold, and Cory

Konold again moved to the front of the crowd and stood directly in front of law enforcement

officers who were attempting to guard the Capitol. Chrestman put on the black helmet with orange

tape, and he can be seen holding what appears to be the same wooden club or axe handle discussed

above. In the image below, the wooden club or axe handle has been stripped of the flag.




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          41.   Shortly thereafter, Chrestman removed the black helmet and donned what appears

to be a respirator. The helmet with orange tape that had been worn by Chrestman was then worn

briefly by Cory Konold. As is depicted below, Felicia Konold helped Cory Konold put on the

helmet.




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       42.     Video footage taken during the event also captures Chrestman addressing the crowd

of people who had unlawfully assembled on the Capitol grounds. At one point, Chrestman turned

to face the crowd and shouted: “Whose house is this?” The crowd responded, “Our house!”

Chrestman shouted, “Do you want your house back?” The crowd responded, “Yes!” Chrestman

shouted back, “Take it!”

       43.     At another point while outside the Capitol, Chrestman, Felicia Konold, Cory

Konold, and others used their hands and bodies in an effort to disrupt or dismantle the metal

barriers that officers were using to control the crowd.




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       44.    Your affiant also observed that ASHLOCK engaged U.S. Capitol Police officers at

barricades near the Plaza of the U.S. Capitol. ASHLOCK pushed on the barricades and the officers

were able to repel ASHLOCK by using pepper spray. Screenshots of this can be seen below:




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       45.     At some point, Chrestman, Felicia Konold, Cory Konold, Kuehne, and Colon

subsequently entered the U.S. Capitol and appeared together at various locations inside the

building. Your affiant has no information that ASHLOCK made it inside the building after his

encounter with U.S. Capitol Police, and whether he was separated from the group of Chrestman,

the Konolds, Kuehne, and Colon. Your affiant did not notice ASHLOCK inside the Capitol in your

affiant’s review of the surveillance footage tracking the others in the group.

       46.     Your affiant notes, however, that many within the crowd both outside the Capitol

with ASHLOCK, as well as both inside and outside the Capitol with Chrestman, Felicia Konold,

Cory Konold, Kuehne, and Colon were wearing orange clothing or orange tape on their gear, hats,

or helmets. As described in Paragraph 26, Kuehne was carrying two rolls of orange tape on his

backpack. Your affiant submits that the gauge of the Kuehne’s orange tape is consistent with the

orange tape worn on the hats or helmets of, Chrestman, Felicia Konold, Kuehne, Cory Konold and

Colon and the vest of ASHLOCK as well as others in the crowd. Based on my training and

experience, your affiant believes the use of orange tape by multiple members in the crowd was a

mark that was intended to identify persons for a particular purpose. The precise intent and purpose

of this identifying tape remains under investigation.

                                         CONCLUSION

       47.     Based on the foregoing, your Affiant submits that there is probable cause to believe

that Ryan ASHLOCK did violate 18 U.S.C. § 371 by conspiring together with other subjects listed

herein, and with others known and unknown, (i) to corruptly obstruct, influence, or impede an

official proceeding before Congress, that is, the certification of the Electoral College, and (ii) to

obstruct, impede, or interfere with a law enforcement officer during the commission of a civil

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disorder.

       48.     Further based on the foregoing, your Affiant submits that, based on ASHLOCK’s

individual conduct on the U.S. Capitol grounds, there is probable cause to believe that Ryan

ASHLOCK, separate and apart from the others in the conspiracy, did violate 18 U.S.C. §§

231(a)(3), 1512(c)(2), and 1752(a)(1) and (2).

                                                         Respectfully submitted,




                                                         Kathryn Camiliere
                                                         Special Agent
                                                         Federal Bureau of Investigation




Subscribed and sworn by telephone pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on February
18, 2021.


                                Digitally signed by G. Michael
                                Harvey
                                Date: 2021.02.18 20:37:44 -05'00'
       _________________________________________
       G. MICHAEL HARVEY
       UNITED STATES MAGISTRATE JUDGE




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